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          I UTICA NATIONAL INSURANCE GROUP
                                        ISSUE00Y
                            Utica National lnsuraJ'}l'"A Group                                                  INSURANCE AGENTS AND BROKERS
                          Republic l"rnnklin ln:;urnnooCornpany                                           ERRORS AND 0Ml$SIONS LIABlLJlY POLICY
                          f'.O. 6Vli. WO, vlilAi, !i11w YVti\ 13003
                                                                           DECLARATIONS
                                                                                                                  CLAIMo-MADe 6ASl:1
                                1e1epnone: (;5Hl)fa<i-WUU                                                                           Renewal
                 NAMED INSURED ANO MAILING ADDRESS                                                                     LOCATION ADDRESS
          Boroen-Penrnan lnS1Jronce Agency Inc
          ?000 l '?M)I (')riv.e,
                                                                                                                        Stit:1 Alli:ltiln~.I 14·E.-000l
          Suile202
      . Lflwrencevme. NJ 08641J                          =---~---~-~---~~~---~~~~~~=~~~·
        AT 12:01 AM. STANDARD TIME AT THE ADDRESS OF THE INSURED AS STATED HEREIN. IN RETURN FOR
        PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THiS POLICY WE AGREE WITH YOU TO
          PROVIDE 1HE INSU                                              T I          CY~




                                                                                                 LIMITS OF LIARll. ITV
          BASIC POLICY COVERAGE
                 LEGAL LIABILITY                                                                 S             5.000.000          EACH LOSS
                                                                                                 S             6,000,000          AGGRt;QATE
                 INSURED'S DEDUCTIBLE AMOUNT                                                     S ------------~f.:!,W!)_         tAvH L0$::i
                                                                                                 S                75000           AGGREGATE
                        DEDUCTIBLE APPLIES TO:                                                   (X] LOSS ONLY
                                                                                                 ( ] LOSS AND LITTGATION EXPENSE
          PREMIUMS
            BASIC POLICY PREMIUM                                                                 $-~~~-=90,..,..634"'-='-.
            REAL ESTATE AGENTS ANO BROKERS PREMIUM                                               S         ____ _____ __     0 {SoG artachc:.1 cndorsomont for cfulails)
            MUTUAL FUND AND VARIABLE ANNUITY PREMIUM                                             $                             {See attached endornenien! fm' <tetmls)
            eMPLOYMt:NT~R.ELATEO PRACTICES PREMIUM                                               ~                           O (~ee arcacnoo enoorsemem ior oerans)
            OTHER                                                                                $                           0
            NJ Property-Llablllty Guarantee A1'sociation Surcharge                               $                     792.0Q
          TOTAL POLICY PREMIUM                                                                   $               91.426.00
          RETROACTIVE DATE
           This insurance does not apply to loss, whenever oceumng, from "wrongful acts" which took place before the Retroactive
           Date, it any; shown                                   NONE
                                                                 Entci- Date-or•Nooe~ If no Retroactive Date applies
          OPTIONAL EXTENDED REPORTING PERIOD PREMIUM
           In Section VII - EXTENDED REPORTINGPERIODS, we agree to provide an Optional Extended Reporting Period under
           cenain conditions. Tile premium for such an Optional EXtended Reporting Period is determined as shown in paragraph
           5. of Sectfon Vil.
          FORMS ANO ENDORSEMENTS APPLYING TO AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
           SEE ATTACHED 14~~-0001


                                                                                                                S'
          COUNTERSIGNEDAT:                                                                      BY             (r~               (,..). t>)..,...._~
          DATE: Oeoember21. 2012 l..ICENSEO RESIDENT AGENT              COMPANY OFFICER
            THESE DECtARATIONS AND THE COVERAGE FORM(S) AND ENDORSEMENTS, IF ANY; ISSUED TO FORM A
                                PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.
          14-U-.!:UA l::d. UQ-.-ZUUB             51:::.1:: UVl::K t-UK IM!-'UK IAN I CLAlMt:l-MADt t:UVl::l<Al:.31:: NU 1ICI:.                             l"aae 1 orz
     UNIBILL# 100723eB2                        PREMIUM AMOUNTTO BE REFLECTED ON NEXT BILLING NOTICE                                                       Agent# E0001
            Case 2:17-cv-04593-WJM-MAH Document 1-1 Filed 06/22/17 Page 2 of 17 PageID: 18
                                                                                      \.-· ....
                                                                                      i ~~-'' --: :



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                                    rM: policy wntch provl_des 1n$urance Agents ancl Brokers E.rrors and Omissions
                                                     LfablHfy Covorago applio!J 011 a claim::i- mode booi::i;



       The foUowin~ provides a_general description of thls coverage ahd is subject to the terms and provlsions of tM actual policy.
       A. The pohey, subJect ta its tefms . and Mnditions,                                             3. During tne Opuonai E:xtenoeo Reportlng
            provides full prior acts coverage if no Retroactive Date                                      Period$ or 12 months to 120 months d,1.,1~tion,
            is entered. in the" Declarations. If a Retroactive Date is                                    described in the Extended Reporting Period ·
            entered fn the Decl.aratlons, the policy wm not apply to                                      Section of tho policy. Such Optional Extended
            loss from· ~wro.ngful acts" which took plaet;! b$fore the                                     Reporting Period must be requested by ~e
            R~lrm11;Uv1:1 Di!Slt1•. Th11 pvlit;y will 11ul ~pply tu lv:s:s frn111                         lnourodln V.'ritlng, within oi>rty di:iyo after tho
           \vrongful acts~ which take place after the- expiratioh of                                       date ot termination of coverage or thirty days
           the policy period.                                                                              after the. date of mailing by I.JS of notice to the
       B. The policy will apply to losses from "wrongful actS"                                              named insured advising ofpremiums for and
           whir.h fRkA .rilRr..A on or ;ili-P.r thA. RAtrMr:tivA natA•. if                                   provisions of Optional Extended Reporting
          ·arry; but before .the beginning oftlle policy perlbd only                                         Petipds, In Ord~ to allow claims to be made
           If the itisurecj dfd ritit kn()w of the "wn:inotul acts~                                         aga!nstthe pohc;y coveraf!EI after the
           befrn:e the beginning of the policy period and if any                                             expira~on of a,nY Automatic Extended
           r.li:tim Li:: mRrlA :;i"r.r.nrrlino to n. hP.lnw                                                 Repot\lng Period;
       C~ ltle DOllcyWlll not apply. to any IOSS tbrWlllCh Claim is                            E. Vi.to will cond you '1 •.•.Tittcn notice within thlrty doyc.   f-
           first mD.do affQr the cxpiratkm of the policy period or                                after any termination of coverage of ~sts for and
           any Automatic or Optional EXtended Reponing Period                                     provisions of8dondod Reporting Periods;
           described in tho Extended Reporting PcriQd. Section of                              F. For the first three years· of claims-made· coverage,
           the policy;         .                 . .· . .   .· . . . .·. ·.                       premiums will oo comparatively lower than fOf
       D. The policy wiif apply only to claims which are first                                    occurrence covet';;lgEt,; an(j will increase for each
            made:                                                                                 renewal. of lhose policies;. Claims·rnade prices will .still
            1. Dunng the. policy period;                                                          be somewhat lower than occurrence prices for mature
            2. ourlmi the .. slxtv. dav Automatic Extended                                        aidunts ~n their fourth or 1!31er years}; The purchase
               RCtporllng . •P0riod .·. _doocrib&d in ·. the 6.xtonded                            Q     ption~. ~tended P.eporting Perioos; {lS descdbed
               Reporting Period Secifon.ofthe policy; or                                          1;1bovti, mqui1~ i:IUlliliom111.mmllum peyimm~,




                                     A
                                     UI Utica National Insurance Group
                                                                   Insurance that starts with you.
                                        Utica Mutual lflSurance Company and i1s affilfated o::impat\i!ls, New Hartfotd, N.Y, 13413




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                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      POLICY CHANGES/EXTENSION SCHEDULE
                                                                                                                 Policy Change
                                                                                                                 ~fomber·=~=~~=

           i Nemeo 1nsu1ea al'ld Malfif!ll Address                                      iI PQ!Jcy Number                                     ,
           I 13ofden-Perlrnan Insurance Agency IM                                       I 3735507 EO                                         !
           l 2000 Lenox Drtv&                                                           1=-·-~;-~-=~-=--=~==~=-=~·---~=-·~=---~--~--~~~~"='

                                                                                        I PQ11cy cnangos Effoctiva                ·          I
           l St1ite202
           I Lawrenooville, NJ 08648                                                    ! 01101/2013
                                                                                         Comp<iny
          Ij                                                                            IUil~ !.Munl tnsuronoc Cornpruly

                 IT IS AGREE::O THAT for ~my box in Pi.lrt A rnarked X1 the policy l;; amended as stated ln Port B.

          I
           j            '


                 p , D NAME; CHANGE                           0 ADDING LOCATION{$)                    0 Cl-iANGING STAFF
           l A 0Al;JOR~$SCHANG~                               0 bi:;LETING LOCAilON                   0 VOIDING E:NOORSEME:Nt
           I R D AMENDING PREMIUM                             0 ADDING MUTUAL FUNDS
                                                              D oo.cnNc MUTU/\L ru~me
                                                                                                      0 AODINCi RE;AJ. ESTATE
                                                                                                      D onu:mm ru:,•.u::eTATC
           i,:   ..,        D /\DDlfJC Aoommlf.t 1ueuru:o
                  t         0 DELETING ADDITIONAL INSURED     0 MUTUAL FUNDS - ADDING SOLICITOR       0 REAL ESTATE -ADDING SOLICITOR
          ! . 0 AMENDING LiMITOF LIA6li.iTY                   D MURIAL FUNDS - oaETJNG SOLJCITOR      0 REAC. ESTATE - DELI;TING SOLICITOR
           l A. 0 AMENDING DEDUCTIBLE                         0 EXCLUSION OF DUPLICAlE COVERAGE
          I!
                            FORMS AND ENDORSEMENTS APPLYING TO AND MADE PART OF THIS POLICY AT TIME OF
                            ISSUE:·

                            NJ     NDCOA              Ct.I. 00(2000            NJ       14C0001            Cu. 0111991
                            NJ     14E0005            Ed. 1011998              NJ       1460012            Ed.101199B
                            NJ     14E0061            Ed. 1011998              NJ       14E0066            Ed_ 10/1998
                            NJ     1451094            Ed. 0312008              NJ       14E1095            Ed.03/2008
                            NJ      t4El098           Etl. 04/ZO 10            NJ       14E1099            El,!. -0612008
                            NJ     14PEOA             Ed. 06/2008              NJ       8L1S23             Ed.~2/2002
                            NJ     8L936              Ed. 1112008




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                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       POLICY CHANGES/EXTENSION SCHEDULE
                                                                                                                      Policy Change
                                                                                                                      Numbor~~=~~~

               I Natliea 1osute:t and Mamnsi Address                                         I Polley Number
               I Borden-Perlman Insurance Agency Inc                                          j 37~550:7 EO                                      (
               l 2000 LAnox Drive
                                                                                             Il -
                                                                                             ·~---~~-~·-~~=----~~="~=~~==·-=-"~~--==~="'1

                                                                                                PO!lcy Changes Effecti1rn                        ![
               I Suite202                                                                                  .
               jj Lawrenceville, NJ 0864&                                                    i Ol/Ol/20l3                                         .
                                                                                             I Company
                                                                                             i U"c:a Mututlf lnsuranoc Comp.'.'!ny
               j IT IS /\GREED THAT for any box In P~ A marked X, the policy is amended as stated ln P('lrt B.
               l
               j             0 NAME CHANGE                      0 ADDING LOCATION($)                        0 CliANGING STAFF

               II : g~~~:~=Gc!:~1~M
                 R           0 /\DDltlC ADDlTIOt!N.. IHSUflCD
                                                                0 bti..ETING LOCATION
                                                                0 A!JOINl3 MUTUAL FUNDS
                                                                0 DLLCT!NC MUTU.".L ru~lDS
                                                                                                            0 VOIPJNG ENDORSEMENT
                                                                                                            0 ADDING REAL ESTATE
                                                                                                            0 DCLCHNC ru:f\L !:~TAIT
                                                                                                                                                      i
                                                                                                                                                      !

               l T           D DELETING ADDITIONAL INSURED      0 MUTUAL FUNDS - ADDING SOUCITOR            0 REAL ESTATE -AOD!NG SOLICITOR
                                                                                                                                                      I
              I!      0 AMENDING LIMlT OF LIASiLITY
                   A. D AMENDING oeoucr1a1.E
                                                                0 MUTUAL fUNOS-DEt.ETING SOLlCITOR
                                                                0 EXCLUSION OF DUPLICAlE CoVERAGE
                                                                                                            0 RE.AL ESTATE -OElETING SOLICITOR
                                                                                                                                                      I
                                                                                                                                                      1

                             LOCATION SCHEDULE:

                             It ls hereby understood and agreed that the followlng locatlon{s) are c-overetl under the above
               I             montlonod policy.
              !i
                             2000 Lenox Drive
              I~ ti'
               l
                             Suite202
                             L::wn-oncovlllo, NJ 0-8648
               iA
               tR            317 Cleveland Ave
               Ir
               l             Highland Park, NJ 08904
               I! l:j,
                             212 Penn St
               f             New Bethlehem, PA 16242
               I
              I~             All other terms and conditions remain the $ame.

                                                                     PREMIUM ADJUSTMENT
              II AUUI
                 . I IUNAL. PKl:MlUM
                                  -                              I Kl:. I UKN PKl:MIUM
                                                                 I
              I
              j
              !



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                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ lT CAREFULLY.

                                                     POLICY CHANGES/EXTENSION SCHEDULE
                                                                                                                                                                                                                                  Policy Change
                                                                                                                                                                                                                                  Number~~~~~~

            i Nerneo Insure:.! and Mamn11 Address                                                                                                                                  I PQ!icY Number
            l Borden..Perlma.n Insurance Agency Inc                                                                                                                                I3735507 C.O                                                                                                         l
            I~~~~ ~ri~ox Dma-                                                                                                                                                      l~P;;;cycn;;;g;;~fi~c:t•v;""'~=~,,"~''=''"'~~"~~~,~~~l
            I Lawtenr::evme, NJ 08648                                                                                                                                              I ouo 1120 13                                                                                                        '
                                                                                                                                                                                   i Company
            I
            i

                                                                                                                                                                                   I Utloo Mutuni tnsur.:inoo Company
            I IT IS AGREED THAT for any box in Port A marked X, the policy is ameri<ied os mated in P;;irl B.
            I 0 NAME CHANGE                       0 ADDING LOCATION($)                   0 CHANGING STAFF

           1:
            jR
                           0 AOORE:SS CHANG!:;
                           0 AMENDING PREMIUM
                           0 ADDtNO ADDITJONJ',L IHSUru:D
                                                                                                                 0 b~l.,ETING LOCATION
                                                                                                                 D ADDING MUTUAL FUNDS
                                                                                                                0 Dl::LCT!NC MUTU."J..: FU~IDS
                                                                                                                                                                                                               0 VOlblNG E:NOCIRS~Ml=N't
                                                                                                                                                                                                               0 AIJDrNG REAL ESTATE
                                                                                                                                                                                                               0 or:u.:mJC ru:AL l:ST/\TI:
           ii              0 DELETING ADDITIONAL lNSUReo                                                         0 MUTUAL FUNDS - ADDING SOLICITOR                                                             0 REAL ESTATE - AODlNG SOLICITOR
           l               0 AMENDING LIMIT OF l.IA61LITY                                                        0 MUTUAL FUNDS - DELETI!¥3 sot..JCITOR                                                        0 REAt. ESTATE- DELI;TlNG SOLlCITOR
            jA             0 AMENDING DEOUCTIElLE                                                               0 EXCl..USION OFOl.IPlJCATE OOVERAGE
            I
            !
            l
                           NAMED INSUREDS:

           II              It ls hereby understood and agreed that the named tnsured Is to read as follows:

                           Borden~Perlman Insurance Agency Inc


           la•
                           WSBordenCo
            JA             Rfohard P Perlmar1 Ageney
            iR

            IT             Borden-Penman Insurance Agency lncdba Pennington Jnsurance Services (eff 4-1-2012 as result of
                           purchase; Temporary dba)
           l tl.
            ~
            J              Borden-Perlman Insurance Agenr:::y Inc dba BOrden Perlman Salisbury and Kelly (eff 9"30-2012 as result of
                           purchased entity)

                           Rorden - Perlm:;tn Insurance Agency Inc dba Borden"Perlman Heatth Advo~te




           I ; All ('lther terms and c;onditions remain the !';ame.
           !            l
           l~,::;o=o""-~J.~-":-.:c=-~"'7='"""=-:=:::;o.....~-=--:::o-;i...-;:-=..-=.~=""'""'-""T'"=--~'~=,,,..~--c;,,,,.,.~=n==;o:.r,._--;,-...,,,c;....,.==-=>-•:'·~'t'-.~.r--:~.~.;""'""'"'"""";...~=---=-~=.-;:;µ...--="7'='-~,--=~=.=.:-:...-"':-=-··;..-..;o... <.~~--:.=·:o~'---OO::-:-="'=-;==~~'~
           I                                                                                                                  PREMIUM ADJUSTMENT                                                                                                                                                        !




           I! ADDITIONAL PREMIUM
                                                     .                                                              I RETURN PREMIUM

                                                                                                                    I

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                    ·~-'c2:_'~,_;:-.;-.·             ;-·-::..:--~-:~
                 . ----.·.·.-=---f~--:- _-,._,:.---·-'- :'i~.-:.:-;:-·.1



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                POLfCY NUMBER: 3735507 EO

                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           PURCHASED ENTITY ENDORSEMENT                                                                                      I.




                            (For attachment to Insurance Agents and Brokers Errors and Omissions Liability Policy) .

                                                                       (Claims-Made Policy}

                                                                             SCHEDULE


                !. Effective Date: 09130/2012
                      (If l'lO dato ontcrod, eovorogo io cffootiv<:i from policy ineoptlon.)
                      .Additfonal Premium       $ O~------
                                                                                                                                                             i~
                Purchased Entttv:                                                             Address:
                Parker Remsen and Oullivan                                                    317                    Cleveland                     Ave
                                                                                              Highland Park, N.I 08904

                II. In consideration of the additional premium shown above or in the Declarations~ it i5 agreed that the policy
                     inr.1110,:>~ NWPl'w.J"' ~!lhjPM to th,:> [mlic'Y fp~ ;mo th!> ;:irlrlifion;:;il pY.dl !~inn h,:>foW: for "wmnaful $'ll'i!>i11 of th<>
                     entity shown in the Schedule above or the Declarations as sut>jec;t to this endorsement                       ·
                     SECTION IV - WHO IS AN INSURED, is amended to include such purchased entity.
                Ill. No Insurance Is provided for "wrongful acts" which occurred prior to the effective date of this endorsement.
                IV. With respect to the. insumnca proVlded by this endorsement. tha fotrowing exclusion applies in addition to
                    tho~ in Ccciion Ill - Cxolu"ion$ of the poHoy:
                      This insurance does not apply to:                                              .
                      Any "clatm~ for, or a.rising out of a "wrongful act" Which any insured knew of before the affective date of this
                      ttl 1dv1 ~emt'ilt.
                V. This insurance is afforded in reliance upon the statements in the app!!catlon dated                                           , which
                   Is hereby made a part of the policy.




                14-E-0005                                                                               Ed.                                       10-98
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                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                          NEW JERSEY CHANGES
                              {For attachment to Insurance Agents and Brokers Errors and Omissions Liability Policy)
                                                              (Clarms•Made Polley)

                   A. Purauant to Ney.r Jersey laW, thls policy cannot be                               individual, corporate, partnership or
                      cancelled or nonrenewed tcir any underwriting                                     other insoreCI that wm increase the
                         reason or guideline which ts arbitrary, caprtciou$                             probability .   of such a los~ or liabiiify
                         or unrainy a1scnrnmamry or wn:nmn aaequaie                                     may oe constaerea a ·moral nazara. '"
                         prior. notice .to tho·. lnsurod, The underwriting                     {2) · 30 days before the effective date of
                         reasons or guH:teiin~ mat an insurer can use. to                            canoollaUon If we cancel tor any other
                         cancel or nonrenewthis policy are.maintained by                          reason..
                         the insurer in writina and Will tie furnished to the        (;_ Th~     follov.iino    rs    ~ddi;.d      to Condition          5_.
                         lnsu~d ·and/¢r the .insured's kiwful represen~tlve             Caricellatkm, (SECTION VI);
                         upon written request.                                          g. Ga!lcellatfon.of Policies In Effect For so Days
                         This provtslon shall not apply to any policy which             ·      orMore
                         has b*'n ln effect for l~s th~n. ~O days at the                       (1) lfthia poliC'y htiq !:icon in.cffo,:;tfotOO
                         lime riotic;e   uf canrellal!on Is, mailed or delivered,                · days or more, or is a renewal of a policy
                         unless the policy is a renewal policy.                                    we l$&ued, we may cancel thls policy only
                   B. Part b. of C'..ondifion 5.1 cancellation, {SECTION                           tor one or more cf the followlng reasons:
                      Vl) Is replaced by the folJoWlng:                                            {a) Nonpaym~nt of premium: .
                      h. \f thlo: policy hoe been lo cf(cct for loco thon                          {b) EXi:)Lt;li!AJ µ£       Ii   ll.ivl~I hi;iL.'2U1, o;;:s
                             60 dayS, we may cancelthis policy by mai!ing                                defined ln N.JAC_.11 :1 ·20.2(f);
                             or delivering tO the first Named Insured and                          {c) · Material     mlsrapresentation      or
                             any person entitled to notice unoer this policy                            :nondfsclosure to us: ofa material fact
                             written notice of oancellation at le<'lst:                                 i:ittMUme of acceptance oftheriSk:
                             lll 1u aays oetore the enecr1ve clam or                               {d) lm·ltf;;t:;;t;ilj fi<:t£;;t•U Uf mal1:ik1i 1;hi;1t1ytt
                                  cancclfation ffv10 ca.nee! fur;
                                                                                                        fn the risk assumed Whfch we could
                                  {a). Nonpayment of premium; or                                        not have reasonably contemplated at
                                  (h} Fxistenr.A of A mnral. ht17~rrl. ~s                              the time Of ilSSUnipllon of thE! risk;
                                       define<l i11 N.JA.O. 11;1-20.2(f) a~                        {e) Substantial breaches of contractual
                                       follows:                                                        duties, condmons or warranties that
                                       (i} "Tne risk, danger or probability                            materially affect the nature and/or
                                            that the insured will destroy, or                           insurability of fue risk;
                                             permit to be destroyed, the                          {f) Lael< of cooperaUon from the insured
                                             in~u.rcd property fur the purpi:lco
                                                                                                        on 1oss control .mauers materta11y
                                             ot collecting me Insurance                                 affecttng insurability of t'1e risk;
                                              proceeds. Any change in the
                                                                                                  {9). Fraudulent acts agalost us by the
                                              circumstances of an insured that
                                              will inm,mse the· probability ·of                        insured or its representative that
                                                                                                        materially affect the nature of the risk
                                              sucn a oesuucuon may oe
                                              COli$1dered a 1morai hazard:' and                       Insured;
                                         (ii} The substantial risk, danger or
                                                                                                  {h) Loss of or reduclion in avallable
                                                                                                        insuranc::a capacity;
                                              probabnltv that the character, .
                                              clreumstances or persons! h111bfts                  m Material Increase In exposure arlslnQ
                                              of the immr~d may im;rease the                            out of changes in statutory or case
                                              possibility of loss ot liability for                      law· subsequent to the .issuance of
                                             which an insurer will be held                              tho ioourancc. controct or any
                                             respon$ible. Any change in the                             subsequent renewat                                 ·
                                             cnaramer or circumsTances ot an




                   14·1:.·UUl~   t:a. 1U·9ts mc1uaes uipyngntea Material ot Insurance ::services umce. Inc..                                page 1 ot;!
                                                                  with its pem'lts$ion
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                          0) Loss of or sub$tantial changes in                                            amount due is made before the effective
                              applicable reinsurance;                                                     date set forth In the nntl~ lfwe cancel
                          {k) FHillll'P' by th~ lri~mwrl tn ('.nmply with                                 U.i:q.1uiivy fur ~11y ull~r ledWll ii~e\.f
                              any· Federal, State or local flre,                                          above, we will mail a written notice,
                              health, safety or building or                                               $lating the 1eason for cancellation; to the
                                                                                                          first Named Insured and any person
                              cMstwction regulation, law or
                               ordiMrtco;. with ri;.~pi?cl to ~n in~ured                                  entltloo to noUce under tl1ls policy, not
                               risk which substanUa!ly incre1;1ses 1;1ny                                  more than 1:?O d~ys nor less than 30.
                               hazard insured against .Within 60                                          days before the effective date of such
                               days .pf written notifi~tlon of . a                                       cancellatlon.
                               violation of any such law, regulation
                                                                                                     {3) Nollce will be sent to ma fast mailing
                                                                                                         addresses known to us, by:
                               or ordinance:
                                                                                                         {a)·. certified man; or
                          {l) Failure by · lhe insured tO" provide
                              reasonable       and       nec.essary                                      {b) First class mail, \f we have obtained
                              underwriting information to us upon                                              fromthe post offi~ a date stamped
                              written request therefor and a                                                   proof of malling showing names and
                               1;,;(l::.vfl<.iliki vf.Jpu1 luuil)'.   lv 1e:;.µvliu,                           oddrooecc.
                           (m) Agency termination, provided:                                         {4) We need not sent notice of cancellation if
                                                                                                        ·you have:
                               {l) We doC1.1rnent that replacement
                               · coverage al eornpatable rates                                            (a) Replaced coverage elsewhere; or
                                     t:1nd ti.;.rms has ~en ·providi:!d to                                lb) 8pecmcany requestea temunauon.
                                     lh~ first Named Insured; and we                      O. The following is added and supersedes any other
                                     have Informed the first Named                           provision to the contrary:
                                     Insured, In writing, of the nght to                      Nanrenewal.
                                     continue c6verage with us; or                            ,,; We may elect not to renew this policy for any
                               {ii} we have informed me .first                                       rsason permittad ta cancel it.. lfwa elect not
                                    Named .Insured, In writing:, of the                              to renew thh> policy, we wm mail a ootioe              ot
                                     right to continue coverage with                                 nonrenewal, stating the reasons for
                                     us and the first Named Insured                                  nonrenewal. to the ftIBf Named Insured at
                                     hi:1~ ~orAPrl, in wrltioo, to t~                                l!'~i;f 30 1fayl't but not  mnr"'     th::in 1 ?O i:fay~
                                     i;;;,uwll,;;(.iv; I .    \.II      l!Vlll ~Ht:W~l               1.n;;rvit: lh;; ~Nii1;,~i.m J!'!t;;i vf U•I~ j)glli.>y,
                                     based on tha termination of the                           b. This nooce wm he 'sent to the first N:=imad
                                     fin;{ Narned lni;ured':; appoihled                           Insured .at lhe last mall!ng address known to
                                     ~gi?nt                                                       us by:
                           tn) Any omer reasons 111 accoruance.                                      {1) Gertmect man; or
                              with our 1.mderwrillos 9-uidelfnes for                                 {2} First class mail, lr we have obtained ffom
                              cancellation of commercial lines                                           the post office a date stamped proof of
                              coverage.                                                                  malling showing the first Named
                      {2) If we cancel this policy based on                                               lnsurE1d's nama and address.
                          paragraph g.(1){o) Qr {b) above, we will                            c. We need nut mall or deliver this notice if you
                          mail a written notice, stating the reason                                  have:
                          forcancellation.·to the first Named                                        {1) Replaced coverage elsewhere~ or
                          Insured Md any parson· Mtitled to noti('.e
                                                                                                     (2) Specifically requeste(I termination.
                          under this policy, at least 10 days before
                          the effecllVe date of t.ancellation, For                        E. A;;. tt:i:>~ll:dv ib::Hll(i, vf ww.l!livn 6., 'l'vut 1i9hl
                          cancellation due to the nonpayment of                               To "Claim" and WWrongful Ad' Information,
                          premium, the notice wm state the effect of                          (SECTION VI) we win al::.-o include inrurmaUon on
                          nonpayment by the due date.                                         whether any "claim" arising out of a "wrongful act"
                           Canc-ell<ioon for nonpaym~nt of prr?mium                           ls uj.itm 01 r...i~u.
                          wm not be effective if payment or the




               14-t;;-UU1Z t:o. 1U·Bti 1nc1uoes <..:opyngntea Matenal or insurance ::;erv1ces umce, inc.,
                                                                               with its permission
            Case 2:17-cv-04593-WJM-MAH Document 1-1 Filed 06/22/17 Page 10 of 17 PageID: 26

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                 POLICY NUMBER: 3735507 EO

                             THIS ENUORSEMl!NT CHANGES THE! POLICY. PLEASE REAO lT CAREFUl-LY.


                                           ADDITIONAL INSURED ENDORSEMENT
                                                             {BU:ilNE~ PLAGED THROUGH YOU)


                                 (For attachment to lrtsuranee Agents and Brokers Errors and OmissioM Liability Policy)
                                                                       (Clatms~Made Polley)

                                                                             SCHEDULE
                 I,         Effective Pate: Of/01/.2008
                            (If no date entered, coverage is effective from policy inception.)
                            Additiona[ Pmmium                     $O

                            Name of person or entity:                           Address:
                            GTP {no longer exists. Original name for Mercadlan)




                 II. In consideration of the additional premium shown aoove or in the Oeclaratfons: it is agreed that the policy
                            includes coverage subject to the policy terms and the additional.exclusion below; but only with respect to
                            liability of the person or entity. shown In the· Schedule above or the Declarations as subject to· this
                            endoraetnent. This rh5Urance applie5 ohly to •c1aim5" which arise out of your "wrongful acts" In connection
                            With hllSine...c;s plafl?.d thmllOh nr AArviced hy you.
                            SECTION lV-WHO IS AN INSURED, is amended to include such person entity.            or
                 UL With ms:pM:t fn thA inc:or::inrA pmvirb'lrt hy thii:t i:1r11:tnrctio>mAnt, thi:i fnllnWit'IO i'lYrJ11~lnn ::ipplii:1~ In ~tlditinn tn
                    tho:;e in OCCTJON Ill - CXCLUGIONO of the policy.

                            This hisurance does not apply to:

                            Anv wc!alm for. or artslnf.l out of a 'Vvrom:iful acr which anv insured knew of before the effective date of this
                                       9



                            &ndor$ement




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             Case 2:17-cv-04593-WJM-MAH Document 1-1 Filed 06/22/17 Page 11 of 17 PageID: 27
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{!'age 11   of    13}




                 POLICY NUMBER: 3735507 EO

                         THIS ~NfJORSEMENT CHANGES THE. POLICY. PLEASE READ IT CAREFULLY.


                                      ADDITIONAL INSURED ENDORSEMENT
                                                                     (5U51NE55 PLACED THROUGH YOU}

                             (For attachment to Insurance Agents and Brokers Errors and Omissions liability Policy)
                                                             (Cla.lm$~Made Porley}

                                                                               SCH!!OULE
                 I.     Effecilve O;;;te: 01/01/2008
                        (lf no data entered, coverage ls effective from policy inception_)
                        Additional Premium                              $0

                        Name of person or entity:                                   Address:
                        Borden Partman Russo




                 11. In CQnsideration of the aoditional premium shown aoove or in me oeclarattons: it ts agreed that the policy
                     includes e¢verage subject to the policy terms and the additional exch,.1sion below; but only with respect to
                     liability of the person or entity shown In the Schedule above or the Declarations as subject to this
                     endorsmnent. This insurance applies only to flclaims~ which arise out of your flwrongful acts~ in connection
                        with htisinAAs pl::ir:.M 1hrt'll t!)h or AAtvir.ad hy yon.
                        SECTION \V - WHO IS AN INSURED,.1s amended to include suCh person or entity.

                 UL With rMpAr:t in thA iMUl':'.¥01"'.A rrnvir!Prf hy !hl.:t <'>nrlo~AmAnf, thi:> fnllnWh'l(J 1wrJ11c:.lnn ::ippliRct In ::1rirfitlnn tn
                    those in GCCTJON Ill - CXCLUOIONO of the potloy.

                        This lnsuranoo does not apply to:

                        A-nv "clalm" tor, or arislnll out of a 'WronQfUI act~ Which anv insured knew of before the effective date of this
                        endorsement.




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                        Case 2:17-cv-04593-WJM-MAH Document 1-1 Filed 06/22/17 Page 12 of 17 PageID: 28
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                             POLlCY NUMBER: 3735507 EO

                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE ReAfJ lT CAREFULLY.


                                                   ADDITIONAL INSURED ENDORSEMENT
                                                                          (BU51NE~ PLACED THROUGH YOU)


                                         (For attachment to tru~urance Agents and Bt-0kers Errors and Omissions Uability Policy)
                                                                                     (Clafms~Made Policy)

                                                                                           SCHEDULE
                             I.     EffectlVe Ome: 0110112008
                                    (If no date entered, coverage is effective from policy inception.)
                                    Addittonal Premium                         $0

                                    Name of person or entity:                                      Address:
                                    Mercadlan Ins Services LLC




                             11. In consieleration of ttle additional premium shOwn above or In the oeclarattons: it Is agreed that the policy
                                 includes coverage aubject to the policy terms and the eic:ldltional exclusion below: but only.with respect to
                                    liability of the person or entity shown in the Schedule above or the Declarations· as subject to this
                                    endo1"8ement. This insurance applles only to "clairns" which arise out of your "wrongful acts" fn connection
                                    with ht1siness pl11cP.d 1hmlll)h nrsiwlrad hY yon.
                                    SECTION lV - WHO IS AN INSURED, is amended to include such person or entitf.

                             Ill    With rl-'l~pi:ir:t tn thA ln<:ti~nr.A prnvir!Arl hy lhl~ Anrlor..-:AmAnt, lhA fnllnwin(l A'l'.f'l11<:irin ~ppliA<: In ~rlrlltlnn fn
                                    thiJ[>e in OCGTJON Ill - CXCLUOIONO of the poll0y.

                                    This Insurance does not apply to:

                                    Anv "cfalm" for, or arlsin~ out of a "wronQ1l.tl acr which anv insured knew of before the effective date of this
                                    endot"$e~nt.




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                                                                                                                                             :L----

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                POLICY NUMBER: 3735507 EO

                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE RCAO IT CAREFULLY.

                                         PRIOR ACTS LIMITATION ENDORSEMENT                                                                                   [-




                               (For attachment to insurance Agents and Brokers Errors and Omissions UabiiitY Policy)
                                                                                          (Claims-Made Polley}




                                                                                                   SCHEDULE

                l.     1::tfeouve Oate: 04/0112012
                       (If I IV ;Ji;th:: i::11t1."<t....,t,J, WVt::I i;1y1;1 I~ 1;;ffci..Uvo;; fl Vilt fNlivy ii li,!;Op\ivli.)

                       DESIGNATED PERSON OR ENTITY:                                                                       RETROACTIVE DATE

                       l::!orden-Perlman tnsuranoo Agency Inc atia Penmngton Ins !:ierv U4JU1/LU1:!




                II. It 1s agreed mat such Insurance as 1s affi:lrded by this policy for any Designated Person or Entity listed In the
                       Schedule above is subject to the retroactive date shown for that person or entity.
                       .S11rh lM11r:::inr"! ::1prliPs only to "wton0fi1l:'lrts" Whlrh fal(p pltiro"' M nr ;:iftt!r thi> r<>tr-Mr.liv(.:> rfatA shown lo I.
                       alivvo;;,




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           Case 2:17-cv-04593-WJM-MAH Document 1-1 Filed 06/22/17 Page 14 of 17 PageID: 30

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                POLICY NUMBER: 3735507 EO

                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CARefULLY.

                                    RESPONSE TO REGULATORY AGENCIES

                             (For attachment to Insurance Agents and Brokers Errors and Omissions Liability Policy}

                                                                   (Claims-Made Policy)

                                                                        SCHEDULE

                I.     Effective Date:
                       (If no date entered, coverage Ii;; effective from policy Inception.)

                II.    Unrter SECTION It - COVERAGE, the following is addAd to lnsuring AgmAmP.nt:
                       1ne "1oss" must oe causeci oy ·wrongml acls" oommmea in me conauct or me msurecrs ousiness. wrierever
                       committed or alleged to hove been committed, by the insured or any person for whose ~,..,irongful ~els" the
                       ln$urea Is tegany liable. arlslng out of tile response to a complaint orthe ctetense of an investlgatiOn brought
                       by any;
                       (1) losuran~ dep~rtment;
                       lZ} b1ate regulatory agency: or
                       {3) Other governmental agenc-y
                       Vou must provide us with prompt \vrltten notice and obtain our written consent before responding; and agree
                       to 1hrt use of an attomAy retainAd by us, or hired by you with our written Mn.o:;ent           ·
                       I nis insurance aoes no1 apo1v to sa1anes ot vour reau1ar emp1oveestomc1a1s. income loss, nnes or oenames.
                       fee or commission returns, or premium reimbursements,
                       The most, we will pay under this insurance is $25,000 per "policy period~ for all "loss" and •cfaim expenses".
                       Payments under this insurance will not Increase the applicable Limit of Liability shown ln tne Declarations,




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"· - .- :~~'-.::,-:;.:_:-. ~                          1'="·_.-._ .
               . ::.:---;·__-__ - '
                 ~                                                    ::----   ---,.-.-···



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       (!'age 15                      of   17}




                                           POLICY NUMBER: 3735507 EO

                                                   THIS ENDORSEMENT CHANGES THE POLICY. PL-EASe READ lT CAREFULLY.

                                                                               LIMITED PARTIAL OWNERSHIP

                                                       (For attachment to ln.surance Agents and Brokers Errors and Omissions Liability Policy)

                                                                                             (Claims-Mad~ Policy}

                                                                                                  SCHEDULE

                                           I.     EffectlVe Date:
                                                  {!f no date en;ered, coverage 1$ effective from policy inception.)

                                           II. UndAr SE'.CTlON HI - E'.XCLUStoNS, paragraph 6. is replacAd bythA followlng:
                                                  1nis msurance aoes not app1v to:
                                                  6. A "claim" by any entity or indivi(fual which;
                                                      a. Is wholly or partially owned, operated, man89ad, or controlled by the insured;
                                                      b. Did wholly or partially own, operate. manage or control the insured.; or
                                                      e. I~ wholly or partially unrlAr the AArnA owMl'Miri. opt:>.r:='ltion. maMgAmAnt. or flMnr:ial control as thA
                                                           insured.
                                                      However, this exclusion does not apply if the percentage of partial ownerahip, operation, management,
                                                      or control ls 1Q&/11 or less.




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                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ lT CAREFULLY.

                                EXCLUSION • RECORDING AND DISTRIBUTION OF
                             MATERIAL OR INFORMATION IN VIOLATION OF LAW
                                  (For attachment to Insurance Agents and Brokers Errors and Omissions Liability Policy)

                                                                      (Claims-Made Policy}


                  I.         The follcrning exclusion applies· in addition to              {2) The CAN-SPAM Act of 2003, including any
                             those in Section Ill - Exclusions of the policy~                   amendment of or addition to such law; or
                             fn1s insurance does not apply to any "cialm" or               {3) MY federal, state or locat statute. ordinance
                             *::uit" micing dirocl!y or ind!roclly out of or                    or regulation; othor thon tho TCrA or CAN
                             resulting from any "wrongful acr, acilon or                        SPAM Act of 2003. and meir amendments
                             omission that violates or is alleged to vlolnte:                   and additions, that a.ddreeses, prohlblts, Ol'
                             (1) The Telephone Consumer Protection Act                          limits the printlng, dlsserninatlon; disposal.
                                 ITGPA), lnc1uotnt1 anv amenamem or or                         voltec.ting, rewrding, :>ending, tr;;mi;mitttng,
                                 addition to such law;                                         communicating or distribution of material or
                                                                                               Information.




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                                                       Copyright, Utica Mutual l:'l$Ul'til'l¢e Company, 2010
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                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      EXCLUSION - VIATICAL SETTLEMENTS
                                                        AND LIFE SETTLEMENTS
                          (For attachment to Insurance Agents and Brokers Errors and omissions Liablllty Policy)

                                                                         {Clahns•Made Policy)


                IL Tha following exclusion applies In addition to                           (1) Viatlcal settlements, viatical insurance
                   those in Section Ill ~Exclusions of the policy:                          benefits, viatica! investment pools or · any
                    This Insurance does not apply to;                                       $eeulity backed by vlatlcal settlements; or
                   Any . \.oloiu I d~c:iil t::.l cm   i11M11ml   bo::;tn.I \iii vi          (2) Lifo cottlomonto.
                    arising directly or lndirecify out of or ln any way
                    involving;




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